Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                           CASE NO.23-80101-CR-CANNON

   UNITED STATES OF AMERICA

   v.

   CARLOS DE OLIVEIRA
                  Defendant.
   ____________________________/

         REPLY BY CARLOS DE OLIVEIRA TO THE GOVERNMENT’S
        OPPOSITION TO HIS MOTION TO DISMISS THE INDICTMENT
          OR IN THE ALTERNATIVE FOR A BILL OF PARTICULARS

         Carlos De Oliveira, through undersigned counsel, respectfully submits this

   reply to the Government’s Opposition (ECF No. 372) in further support of his

   Motion to Dismiss the Indictment as to him, or in the Alternative for a Bill of

   Particulars (ECF No. 323).

         In its Opposition, the Government correctly argues that “[t]here is no

   summary judgment procedure in criminal cases . . . . [and] [t]he sufficiency of a

   criminal indictment is determined from its face [and is] sufficient if it charges in the

   language of the statute.” (ECF No. 372 at 6 (citing United States v. Critzer, 951 F.2d
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 2 of 12




   306, 307 (11th Cir. 1992)).1 It is also understood, as the Government notes in its

   Opposition, that a request for dismissal on the basis of sufficiency of the evidence is

   proper under Fed. R. Crim. P. 29 after the Government’s case-in-chief, and Mr. De

   Oliveira will certainly avail himself of that opportunity should this matter proceed

   to trial. Mr. De Oliveira is not arguing, at this stage, about the sufficiency of the

   evidence. Rather, he argues that the conduct alleged in Superseding Indictment –

   even if conceded as true for present purposes – fails to comply with Fed. R. Crim. P

   7(c)(1)’s requirement of “a plain, concise, and definite written statement of the

   essential facts” constituting the offenses charged in Counts 33 (Conspiracy to

   Obstruct Justice), 40 (Obstruction of Justice), 41 (Obstruction of Justice), and 42

   (False Statements).

         An Indictment must “(1) present[] the essential elements of the charged

   offense, (2) notify the accused of the charges to be defended against, and (3) enable

   the accused to rely upon a judgment under the indictment as a bar against double



   1
     Critzer also acknowledges that “[s]ome district judges conduct what amounts to a
   bench trial … at which the judge accepts proffers of evidence as though taken at a
   formal trial. If the evidence is insufficient to support a conviction, on the basis of
   indictment and evidence, the judge then dismisses the indictment and enters a
   judgment of acquittal;” and that “[o]ther judges hear proffers of evidence and, while
   denying dismissal because of the four corners rule, seek to induce dismissal by the
   government with prejudice, by notifying the prosecution that if it proceeds to trial
   on no more evidence than has been proffered it can expect a motion for judgment of
   acquittal to be granted.” Id. at 308 n. 2. Mr. De Oliveira would welcome either option
   in the event that the Court is disinclined to grant the instant motion outright.
                                             2
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 3 of 12




   jeopardy for any subsequent prosecution for the same offense.” United States v.

   Woodruff, 296 F.3d 1041, 1046 (11th Cir. 2002). Even when it “tracks the language

   of the statute, it must be accompanied with such a statement of facts and

   circumstances as will inform the accused of the specific offense, coming under the

   general description, with which he is charged;” and an obstruction charge under 18

   U.S.C. 1512(c) “must identify which official proceeding was obstructed and

   otherwise provide sufficient notice to the defendant of the factual predicate for the

   charge.” United States v. McGarity, 669 F.2d 1218, 1236, 1238 (11th Cir. 2012).

   I. The Superseding Indictment Fails to Allege an Offense Against Mr. De
      Oliveira With Respect to the Boxes

         The Superseding Indictment does not allege that Mr. De Oliveira ever knew

   about the classified documents at issue in this case, and the Government has

   conceded as much. See, e.g., Government’s Unclassified Brief Regarding its

   Classified Ex Parte, In Camera, Under Seal Motions for an Order Pursuant to CIPA

   Section 4 and Fed. R. Crim. P 16(d)(1) With Respect to Defendants Nauta and De

   Oliveira (ECF No. 349-1 p. 8 (“The Indictment nowhere alleges that De Oliveira

   was aware of the contents of the boxes he moved.”)). The Superseding Indictment

   also states that Mssrs. Nauta and De Oliveira “brought to the storage Room only

   approximately 30 boxes” on June 2, 2022 (ECF No. 85 at ¶ 62), within hours of

   Trump Attorney 1’s review of the boxes in the Storage Room. Id. at ¶¶ 63, 65. The

   Superseding Indictment specifically excludes Mr. De Oliveira from the prior
                                            3
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 4 of 12




   movement of approximately 64 boxes out of the Storage Room between May 24,

   2022, and June 1, 2022 (even if there was some nefarious purpose for doing so,

   which the Superseding Indictment also fails to allege). ECF No. 85 at ¶ 59.

         The Superseding Indictment makes no mention of Mr. De Oliveira being made

   aware of the May 11. 2022, grand jury subpoena demanding documents with

   classified markings, and it makes no allegation that Mr. De Oliveira was aware of

   the contents of the boxes that he helped move on June 2, 2022. Indeed, according to

   the facts alleged in the Superseding Indictment, Trump Attorney 1 would have

   reviewed precisely the documents that Mr. De Oliveira did help move into the

   Storage Room, and not any documents that are alleged to have not been in the

   Storage Room.

         Presumably, that is why Mr. De Oliveira is not charged in any of the

   substantive counts related to retaining classified information (Counts 1-32) or

   obstruction related to “moving boxes that contained documents with classified

   markings so that Trump Attorney 1 would not find the documents and produce them

   to a grand jury” (Counts 34-35). He is also not charged in the counts related to the

   certification about the search for responsive records (Counts 36-40).

         And yet, Mr. De Oliveira is alleged in Count 33 to have engaged in a

   conspiracy, “[t]he purpose of [which] was for Trump to keep classified documents




                                            4
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 5 of 12




   he had taken with him from the White House and to hide and conceal them from a

   federal grand jury.” ECF No. 85 at ¶ 96.

   II. The Superseding Indictment Also Fails to Allege an Offense Against Mr. De
       Oliveira With Respect to Mar-a-Lago Security Footage

         The Government’s apparent response to this infirmity is that Count 33 is

   supported by the allegations contained in Counts 40 and 41, which “specifically

   allege that De Oliveira requested that another Trump employee delete security

   camera footage at Mar-a-Lago in order to prevent the footage from being provided

   to a grand jury” (ECF No. 372 at 10), and which is referenced as one of the seven

   actions listed in the “Manner and Means of the Conspiracy” in Count 33.

         To start, it would certainly be helpful for the Government to confirm, through

   a bill of particulars, that it is not alleging that Mr. De Oliveira engaged in any of the

   other six actions listed as “Manner and Means of the Conspiracy.”2 As to Obstruction

   charged in Counts 40 and 41, the Superseding Indictment again does not even claim

   that Mr. De Oliveira was aware of the existence of any government investigation or

   the June 24, 2022, grand jury subpoena for security footage at the time of his alleged


   2
     To the extent that the Government might argue that Mr. De Oliveira also engaged
   in making false and misleading statements to the FBI as a manner and means of the
   conspiracy, they would need to explain how Mr. De Oliveira’s statement to the FBI
   in January 2023 about his knowledge of the details of former President Trump’s
   move to Mar-a-Lago in January 2021 were both false and intended to further the
   goal of the alleged conspiracy. If the Government intends to rely on any other
   allegedly false statement by Mr. De Oliveira to support Count 33, it should be
   required to articulate that in a bill of particulars.
                                              5
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 6 of 12




   conversation with Trump Employee 4, and the Government does not so assert in its

   opposition (nor would they have any basis to). Even assuming, for the moment, that

   Trump Employee 4 was finally telling the truth, as the Government claims, the

   Superseding Indictment stated that Mr. De Oliveria asked him “how many days the

   server retained footage.” ECF No. 85 at ¶ 84(a). It then states that Mr. De Oliveira

   informed Trump Employee that “the boss” wanted the server deleted. Again, even

   assuming the veracity of Trump Employee 4, the Superseding Indictment fails to

   allege that Mr. De Oliveira “requested that Trump Employee 4 delete security

   camera footage,” let alone that he did so “to prevent the footage from being provided

   to a federal grand jury,” as alleged in Counts 40 and 41, or “to conceal the footage

   from the FBI and grand jury,” as alleged in Count 33.

         Instead, the Government argues that there is no authority for the proposition

   that an indictment must “allege a defendant’s awareness of the details contained in

   a subpoena; that a defendant have specialized knowledge about the contours of what

   might be considered responsive to a subpoena, or that a defendant … must be aware

   of the extent of anyone’s preservation obligations.” ECF No. 372 at 8. Yet, the

   Government acknowledges that it must prove that “the defendant knew or foresaw

   an official proceeding” or that Mr. De Oliveira “knew that his actions were likely to

   affect it.” Id. at 10 (quoting United States v. Friske, 640 F.3d 1288, 1292 n.5 (11th

   Cir. 2011)) (emphasis added by the Government).


                                            6
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 7 of 12




         Nothing in the Superseding Indictment or the Government’s Opposition

   satisfies McGarity’s requirement of a “statement of facts and circumstances as will

   inform the accused of the specific offense” and that an indictment “identify which

   official proceeding was obstructed and otherwise provide sufficient notice to the

   defendant of the factual predicate for the charge.” The facts alleged in the

   Superseding Indictment utterly fail to show that Mr. De Oliveira was capable of

   forming the required “corrupt” criminal intent to support the Obstruction offenses

   charged in counts 33, 40, and 41, or that Mr. De Oliveira “knowingly” conspired and

   agreed with his alleged co-conspirators as summarily stated in Count 33. The

   Superseding Indictment fails to even assert that Mr. De Oliveira was aware of the

   Government’s investigation at all, let alone that a grand jury had issued subpoenas

   related to either classified documents or security video. Far from imposing, as the

   Government argues, “such detailed knowledge requirements” (ECF No. 372 at 8),

   the Superseding Indictment should at least be required to articulate a knowledge

   requirement.

         The Government correctly notes that “a conspirator need not participate in all

   aspects of a conspiracy.” ECF No. 372 at 7. However, a conspiracy must have an

   unlawful purpose, and a participant in a conspiracy to obstruct justice must

   knowingly agree and act corruptly in furtherance of that goal. See United States v.

   Bobo, 344 F.3d 1076, 1084 (11th Cir. 2003) (vacating a healthcare fraud conviction


                                            7
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 8 of 12




   where the indictment “contain[ed] no indication of what the government contended

   was unlawful about [the defendant’s] conduct” and failed to specify the scheme to

   defraud or articulate a fraud in connection with the delivery of health care services).

   The Superseding Indictment as to Mr. De Oliveira fails on its face to allege that Mr.

   De Oliveira knowingly agreed with anyone to do anything unlawful.3

   III. Mr. De Oliveira’s Statement in Count 42 was Neither False Nor Material

         In its Opposition, the Government contends that Mr. De Oliveira gave

   “unambiguous” responses to an FBI agent’s “straight forward” questions on January

   13, 2023, about events that occurred two years earlier. The colloquy quoted in Count

   42 demonstrates on its face that is not the case. That colloquy is also quoted in the

   Superseding Indictment with ellipses that edit out important context for Mr. De

   Oliveira’s statement, and it fails to mention Mr. De Oliveira’s other statements in

   that interview with respect to the items at issue.

         The facts alleged in the indictment fail to articulate any clear statement, let

   alone a false one. Mr. De Oliveira conveyed to the agent the truth – i.e., that he had

   no real involvement in President Trump’s move to Mar-a-Lago, to include “this


   3
     The Government notes that the Superseding Indictment charges Aiding and
   Abetting under 18 U.S.C. § 2 as an alternative theory of liability. ECF No. 372 at 10
   n. 3. That theory similarly fails because that statute requires that “a person actively
   participates in a criminal venture with full knowledge of the circumstances
   constituting the charged offense.” United States v. Coates, 8 F.4th 1228, 1247 (11th
   Cir. 2021) (quoting Rosemond v. United States, 572 U.S. 65, 77 (2014)) (emphasis
   in original).
                                              8
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 9 of 12




   stuff” and “personal stuff, like, his clothes … and furniture,” and that he had no idea

   what went where once it arrived at Mar-a-Lago. In order to instead have intended

   “to distance himself as much as possible from the boxes that were at the center of

   the FBI’s investigation” (ECF No. 372 at 13) (which is not alleged in the Superseding

   Indictment and would itself require evidence beyond its four corners), the agent

   would have needed to include information about the nature of what he was looking

   for in his questions, which he did not. It was the agent’s burden “to pin the witness

   down to the specific object” of his inquiry, Bronston v. United States, 409 U.S. 352,

   360 (1973), and not Mr. De Oliveira’s burden to guess what the agent was really

   trying to ask him about.

         For the same reason, Count 42 fails to articulate how Mr. De Oliveira’s

   statement could possibly have been material to the government’s investigation. The

   FBI presumably was not investigating where Mr. Trump’s clothes or furniture went

   once they arrived at Mar-a-Lago, and without any explanation to Mr. De Oliveira

   about what the other “stuff” might have been, it is difficult to understand how Mr.

   De Oliveira’s answers could have possibly been material to an investigation about

   the location of classified materials two years later – materials that the Superseding

   Indictment itself explains were moved in the early summer of 2022.




                                             9
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 10 of 12




   IV. Alternatively, a Bill of Particulars is Necessary

         To the extent that the Court is unwilling to dismiss the charges against Mr. De

   Oliveira outright at this early stage, a bill of particulars is necessary to notify Mr. De

   Oliveira of the charges to be defended against. See United States v. Woodruff, 296

   F.3d 1041, 1046 (11th Cir. 2002).

         The information that Mr. De Oliveira seeks, which is listed in his Motion (ECF

   No. 323 at 15-17), should be simple for the Government to articulate in a bill of

   particulars. Far from being used “as a weapon to force the government into divulging

   its prosecution strategy or to compel the government to detailed exposition of its

   evidence or to explain the legal theories upon which it relies at trial” (ECF No. 372

   at 15), the information is necessary to properly advise Mr. De Oliveira as to what the

   Government claims his unlawful acts were. The Superseding Indictment alone

   simply fails to provide that required due process.

         Wherefore, Mr. De Oliveira respectfully requests that the Court dismiss the

   Superseding Indictment or, in the alternative, require the Government to file a Bill

   of Particulars pursuant to Fed. R. Crim. P. 7(f).




                                              10
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 11 of 12




   Dated: February 24, 2024


                                Respectfully Submitted

                                   /s Larry Donald Murrell, Jr.      b
                                LARRY DONALD MURRELL, JR.
                                FLORIDA BAR NO: 326641
                                400 Executive Center Drive
                                Suite 201—Executive Center Plaza
                                West Palm Beach, FL 33401
                                Telephone: 561.686.2700
                                Facsimile: 561.686.4567
                                Email: ldmpa@bellsouth.net

                                   /s John S. Irving, IV              g
                                JOHN S. IRVING, IV
                                D.C. Bar No 460068 (Admitted Pro Hac Vice)
                                E&W Law
                                1455 Pennsylvania Avenue, N.W.
                                Suite 400
                                Washington, D.C. 20004
                                Telephone: 301-807-5670
                                Email: john.irving@earthandwatergroup.com

                                Attorneys for Defendant Carlos De Oliveira




                                        11
Case 9:23-cr-80101-AMC Document 413 Entered on FLSD Docket 03/24/2024 Page 12 of 12




                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 24, 2024, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF, which in turn serves

   counsel of record via transmission of Notices of Electronic Filing.




                                            12
